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                            Exhibit 41
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                                                                         Ex. 41 / P. 01
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              WHOIS BETA


     rapidporntube.net                             Lookup


Provide Feedback



   Showing results for: rapidporntube.net
   Original Query: rapidporntube.net




     Contact Information
     Registrant Contact
     Name: Domain Administrator
     Organization: See PrivacyGuardian.org
     Mailing Address: , Phoenix AZ 85016 US
     Phone: 347-871-7726
     Ext:
     Fax:
     Fax Ext:
     Email:pw-62214c0856dac1027ba41c43265e7ca2@privacyguardian.org

     Admin Contact
     Name: Domain Administrator
     Organization: See PrivacyGuardian.org
     Mailing Address: , Phoenix AZ 85016 US
     Phone: 347-871-7726
     Ext:
     Fax:
     Fax Ext:
     Email:pw-62214c0856dac1027ba41c43265e7ca2@privacyguardian.org

     Tech Contact
     Name: Domain Administrator                                                      Ex. 41 / P. 02
       Case 3:13-cv-01045-SI    Document 136-5   Filed 07/22/14   Page 4 of 59
Organization: See PrivacyGuardian.org
Mailing Address: , Phoenix AZ 85016 US
Phone: 347-871-7726
Ext:
Fax:
Fax Ext:
Email:pw-62214c0856dac1027ba41c43265e7ca2@privacyguardian.org




Registrar
WHOIS Server:
URL:
Registrar:
IANA ID:
Abuse Contact Email:
Abuse Contact Phone:




Status




Important Dates
Updated Date:
Created Date:
Registration Expiration Date:




Name Servers
NS1.DNSOWL.COM
NS2.DNSOWL.COM
NS3.DNSOWL.COM

                                                                                 Ex. 41 / P. 03
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Raw WHOIS Record

NOTICE AND TERMS OF USE: You are not authorized to access
or query our WHOIS
database through the use of high-volume, automated,
electronic processes. The
Data in our WHOIS database is provided for information
purposes only, and to
assist persons in obtaining information about or related to
a domain name
registration record. We do not guarantee its accuracy. By
submitting a WHOIS
query, you agree to abide by the following terms of use:
You agree that you may
use this Data only for lawful purposes and that under no
circumstances will you
use this Data to: (1) allow, enable, or otherwise support
the transmission of
mass unsolicited, commercial advertising or solicitations
via e-mail, telephone,
or facsimile; or (2) enable high volume, automated,
electronic processes that
apply to us (or our computer systems). The compilation,
repackaging,
dissemination or other use of this Data is expressly
prohibited without our
prior written consent. We reserve the right to terminate
your access to the
WHOIS database at our sole discretion, including without
limitation, for
excessive querying of the WHOIS database or for failure to
otherwise abide by
this policy. We reserve the right to modify these terms at
any time.

Domains - cheap, easy, and secure at NameSilo.com

http://www.namesilo.com


Domain Name: rapidporntube.net
Created On: 2013-12-13
Expiration Date: 2014-12-13


Name Server: NS1.DNSOWL.COM
Name Server: NS2.DNSOWL.COM
Name Server: NS3.DNSOWL.COM
                                                                              Ex. 41 / P. 04
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Registrant Name: Domain Administrator
Registrant Organization: See PrivacyGuardian.org
Registrant Street1: 1928 E. Highland Ave. Ste F104
Registrant Street2: PMB# 255
Registrant City: Phoenix
Registrant State/Province: AZ
Registrant Postal Code: 85016
Registrant Country: US
Registrant Phone: 347-871-7726
Registrant Email: pw-
62214c0856dac1027ba41c43265e7ca2@privacyguardian.org


Admin Name: Domain Administrator
Admin Organization: See PrivacyGuardian.org
Admin Street1: 1928 E. Highland Ave. Ste F104
Admin Street2: PMB# 255
Admin City: Phoenix
Admin State/Province: AZ
Admin Postal Code: 85016
Admin Country: US
Admin Phone: 347-871-7726
Admin Email: pw-
62214c0856dac1027ba41c43265e7ca2@privacyguardian.org


Billing Name: Domain Administrator
Billing Organization: See PrivacyGuardian.org
Billing Street1: 1928 E. Highland Ave. Ste F104
Billing Street2: PMB# 255
Billing City: Phoenix
Billing State/Province: AZ
Billing Postal Code: 85016
Billing Country: US
Billing Phone: 347-871-7726
Billing Email: pw-
62214c0856dac1027ba41c43265e7ca2@privacyguardian.org


Tech Name: Domain Administrator
Tech Organization: See PrivacyGuardian.org
Tech Street1: 1928 E. Highland Ave. Ste F104
Tech Street2: PMB# 255
Tech City: Phoenix
Tech State/Province: AZ
Tech Postal Code: 85016
Tech Country: US
Tech Phone: 347-871-7726
Tech Email: pw-                                                               Ex. 41 / P. 05
62214c0856dac1027ba41c43265e7ca2@privacyguardian.org
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       Register your domain now at www.NameSilo.com - Domains.
       Cheap, Fast and Secure




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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duration necessary to show these results in response to real-time queries.* These results are
shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

* There is one exception: ICANN acts as the registry operator for the .int TLD, and in that
capacity it does collect, generate, retain and store information regarding registrations in the .int
TLD.


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                                                                                          Ex. 41 / P. 06
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                            Exhibit 42
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              WHOIS BETA


     rollporntube.com                                Lookup


Provide Feedback



   Showing results for: ROLLPORNTUBE.COM
   Original Query: rollporntube.com



     Raw WHOIS Record

     Domain Name: ROLLPORNTUBE.COM

     Abuse email: abuse@ahnames.com

     Registrant:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     rollporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Registered Through:
         AHnames.com http://www.AHnames.com/

     Administrative Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     rollporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Technical Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     rollporntube.com@whoisprotectservice.net                                        Ex. 42 / P. 02
              Case 3:13-cv-01045-SI    Document 136-5     Filed 07/22/14   Page 11 of 59
             27 Old Gloucester Street
             London WC1N 3AX
             United Kingdom
             +44.02074195061

       Billing Contact:
           WhoisProtectService.net PROTECTSERVICE, LTD.
       rollporntube.com@whoisprotectservice.net
           27 Old Gloucester Street
           London WC1N 3AX
           United Kingdom
           +44.02074195061

       Name Server: NS1.KWIKDNS.COM
       Name Server: NS2.KWIKDNS.COM

       Creation Date: 2011-07-26
       Expiration Date: 2015-07-26




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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All results shown are captured from registries and/or registrars and are framed in real-time.
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duration necessary to show these results in response to real-time queries.* These results are
shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

* There is one exception: ICANN acts as the registry operator for the .int TLD, and in that
capacity it does collect, generate, retain and store information regarding registrations in the .int
TLD.

                                                                                        Ex. 42 / P. 03
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                            Exhibit 43
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             WHOIS BETA


     shemale-porntubes.com                          Lookup


Provide Feedback



   Showing results for: SHEMALE-PORNTUBES.COM
   Original Query: shemale-porntubes.com




     Contact Information
     Registrant Contact
     Name: Whois Agent
     Organization: Whois Privacy Protection Service, Inc.
     Mailing Address: PO Box 639, Kirkland WA 98083 US
     Phone: +1.4252740657
     Ext:
     Fax: +1.4259744730
     Fax Ext:
     Email:shemale-porntubes.com@protecteddomainservices.com

     Admin Contact
     Name: Whois Agent
     Organization: Whois Privacy Protection Service, Inc.
     Mailing Address: PO Box 639, Kirkland WA 98083 US
     Phone: +1.4252740657
     Ext:
     Fax: +1.4259744730
     Fax Ext:
     Email:shemale-porntubes.com@protecteddomainservices.com

     Tech Contact
     Name: Whois Agent                                                              Ex. 43 / P. 02
      Case 3:13-cv-01045-SI   Document 136-5   Filed 07/22/14   Page 15 of 59
Organization: Whois Privacy Protection Service, Inc.
Mailing Address: PO Box 639, Kirkland WA 98083 US
Phone: +1.4252740657
Ext:
Fax: +1.4259744730
Fax Ext:
Email:shemale-porntubes.com@protecteddomainservices.com




Registrar
WHOIS Server: whois.name.com
URL: http://www.name.com
Registrar: Name.com, Inc.
IANA ID: 625
Abuse Contact Email:abuse@name.com
Abuse Contact Phone: +1.17202492374




Status
Domain Status:clientTransferProhibited




Important Dates
Updated Date: 2014-01-09
Created Date:
Registration Expiration Date: 2015-01-09




Name Servers
ns1hwy.name.com
ns2bls.name.com
ns3qty.name.com
ns4jnz.name.com                                                             Ex. 43 / P. 03
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Raw WHOIS Record

Domain Name: SHEMALE-PORNTUBES.COM
Registrar WHOIS Server: whois.name.com
Registrar URL: http://www.name.com
Updated Date: 2014-01-09T10:47:15-07:00
Creation Date: 2014-01-09T10:47:15-07:00
Registrar Registration Expiration Date: 2015-01-
09T10:47:15-07:00
Registrar: Name.com, Inc.
Registrar IANA ID: 625
Registrar Abuse Contact Email: abuse@name.com
Registrar Abuse Contact Phone: +1.17202492374
Reseller:
Domain Status: clientTransferProhibited
Registrant Name: Whois Agent
Registrant Organization: Whois Privacy Protection Service,
Inc.
Registrant Street: PO Box 639
Registrant City: Kirkland
Registrant State/Province: WA
Registrant Postal Code: 98083
Registrant Country: US
Registrant Phone: +1.4252740657
Registrant Fax: +1.4259744730
Registrant Email: shemale-
porntubes.com@protecteddomainservices.com
Admin Name: Whois Agent
Admin Organization: Whois Privacy Protection Service, Inc.
Admin Street: PO Box 639
Admin City: Kirkland
Admin State/Province: WA
Admin Postal Code: 98083
Admin Country: US
Admin Phone: +1.4252740657
Admin Fax: +1.4259744730
Admin Email: shemale-
porntubes.com@protecteddomainservices.com
Tech Name: Whois Agent
Tech Organization: Whois Privacy Protection Service, Inc.
Tech Street: PO Box 639
Tech City: Kirkland
Tech State/Province: WA
Tech Postal Code: 98083
Tech Country: US
Tech Phone: +1.4252740657                              Ex. 43 / P. 04
              Case 3:13-cv-01045-SI    Document 136-5     Filed 07/22/14   Page 17 of 59
       Tech Fax: +1.4259744730
       Tech Email: shemale-
       porntubes.com@protecteddomainservices.com
       Name Server: ns1hwy.name.com
       Name Server: ns2bls.name.com
       Name Server: ns3qty.name.com
       Name Server: ns4jnz.name.com
       DNSSEC: NotApplicable
       URL of the ICANN WHOIS Data Problem Reporting System:
       http://wdprs.internic.net/
       >>> Last update of WHOIS database: 2014-07-17T18:52:45-
       06:00 <<<


       The Data in the Name.com, Inc. WHOIS database is provided
       by Name.com, Inc. for information purposes, and to assist
       persons in obtaining information about or related to a
       domain name registration record. Name.com, Inc. does not
       guarantee its accuracy. By submitting a WHOIS query, you
       agree that you will use this Data only for lawful purposes
       and that, under no circumstances will you use this Data to:
       (1) allow, enable, or otherwise support the transmission of
       mass unsolicited, commercial advertising or solicitations
       via e-mail (spam); or (2) enable high volume, automated,
       electronic processes that apply to Name.com, Inc. (or its
       systems). Name.com, Inc. reserves the right to modify these
       terms at any time. By submitting this query, you agree to
       abide by this policy.




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose, Ex. 43 / P. 05
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including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
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                                                                                        Ex. 43 / P. 06
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                            Exhibit 44
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                                                                      Ex. 44 / P. 01
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             WHOIS BETA


     sleepsexporntube.com                           Lookup


Provide Feedback



   Showing results for: SLEEPSEXPORNTUBE.COM
   Original Query: sleepsexporntube.com



     Raw WHOIS Record

     Domain Name: SLEEPSEXPORNTUBE.COM

     Abuse email: abuse@ahnames.com

     Registrant:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     sleepsexporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Registered Through:
         AHnames.com http://www.AHnames.com/

     Administrative Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     sleepsexporntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Technical Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     sleepsexporntube.com@whoisprotectservice.net                                   Ex. 44 / P. 02
              Case 3:13-cv-01045-SI    Document 136-5     Filed 07/22/14   Page 22 of 59
             27 Old Gloucester Street
             London WC1N 3AX
             United Kingdom
             +44.02074195061

       Billing Contact:
           WhoisProtectService.net PROTECTSERVICE, LTD.
       sleepsexporntube.com@whoisprotectservice.net
           27 Old Gloucester Street
           London WC1N 3AX
           United Kingdom
           +44.02074195061

       Name Server: NS1.PUB-NS.COM
       Name Server: NS2.PUB-NS.COM

       Creation Date: 2014-03-17
       Expiration Date: 2015-03-17




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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All results shown are captured from registries and/or registrars and are framed in real-time.
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duration necessary to show these results in response to real-time queries.* These results are
shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

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capacity it does collect, generate, retain and store information regarding registrations in the .int
TLD.

                                                                                        Ex. 44 / P. 03
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                            Exhibit 45
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                                                                      Ex. 45 / P. 01
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             WHOIS BETA


     teenageporntube.net                            Lookup


Provide Feedback



   Showing results for: TEENAGEPORNTUBE.NET
   Original Query: teenageporntube.net




     Contact Information
     Registrant Contact
     Name: WHOISGUARD PROTECTED
     Organization: WHOISGUARD, INC.
     Mailing Address: P.O. BOX 0823-03411, PANAMA PANAMA 00000 PA
     Phone: +507.8365503
     Ext:
     Fax: +51.17057182
     Fax Ext:
     Email:74C1C326B36447028AF98AD7B2098DB9.PROTECT@WHOISGUARD.COM

     Admin Contact
     Name: WHOISGUARD PROTECTED
     Organization: WHOISGUARD, INC.
     Mailing Address: P.O. BOX 0823-03411, PANAMA PANAMA 00000 PA
     Phone: +507.8365503
     Ext:
     Fax: +51.17057182
     Fax Ext:
     Email:74C1C326B36447028AF98AD7B2098DB9.PROTECT@WHOISGUARD.COM

     Tech Contact
     Name: WHOISGUARD PROTECTED                                                     Ex. 45 / P. 02
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Organization: WHOISGUARD, INC.
Mailing Address: P.O. BOX 0823-03411, PANAMA PANAMA 00000 PA
Phone: +507.8365503
Ext:
Fax: +51.17057182
Fax Ext:
Email:74C1C326B36447028AF98AD7B2098DB9.PROTECT@WHOISGUARD.COM




Registrar
WHOIS Server: whois.enom.com
URL: www.enom.com
Registrar: ENOM, INC.
IANA ID: 48
Abuse Contact Email:abuse@enom.com
Abuse Contact Phone: +1.4252744500




Status
Domain Status:clientTransferProhibited




Important Dates
Updated Date: 2014-02-20
Created Date:
Registration Expiration Date: 2015-01-23




Name Servers
NS1.DSREDIRECTION.COM
NS2.DSREDIRECTION.COM

                                                                            Ex. 45 / P. 03
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Raw WHOIS Record


Domain Name: TEENAGEPORNTUBE.NET
Registry Domain ID: 1698280872_DOMAIN_NET-VRSN
Registrar WHOIS Server: whois.enom.com
Registrar URL: www.enom.com
Updated Date: 2014-02-21 04:05:37Z
Creation Date: 2012-01-23 10:54:00Z
Registrar Registration Expiration Date: 2015-01-23
10:54:34Z
Registrar: ENOM, INC.
Registrar IANA ID: 48
Registrar Abuse Contact Email: abuse@enom.com
Registrar Abuse Contact Phone: +1.4252744500
Reseller: NAMECHEAP.COM
Domain Status: clientTransferProhibited
Registry Registrant ID:
Registrant Name: WHOISGUARD PROTECTED
Registrant Organization: WHOISGUARD, INC.
Registrant Street: P.O. BOX 0823-03411
Registrant City: PANAMA
Registrant State/Province: PANAMA
Registrant Postal Code: 00000
Registrant Country: PA
Registrant Phone: +507.8365503
Registrant Phone Ext:
Registrant Fax: +51.17057182
Registrant Fax Ext:
Registrant Email:
74C1C326B36447028AF98AD7B2098DB9.PROTECT@WHOISGUARD.COM
Registry Admin ID:
Admin Name: WHOISGUARD PROTECTED
Admin Organization: WHOISGUARD, INC.
Admin Street: P.O. BOX 0823-03411
Admin City: PANAMA
Admin State/Province: PANAMA
Admin Postal Code: 00000
Admin Country: PA
Admin Phone: +507.8365503
Admin Phone Ext:
Admin Fax: +51.17057182
Admin Fax Ext:
Admin Email:
74C1C326B36447028AF98AD7B2098DB9.PROTECT@WHOISGUARD.COM
Registry Tech ID:
Tech Name: WHOISGUARD PROTECTED
Tech Organization: WHOISGUARD, INC.
Tech Street: P.O. BOX 0823-03411                       Ex. 45 / P. 04
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Tech City: PANAMA
Tech State/Province: PANAMA
Tech Postal Code: 00000
Tech Country: PA
Tech Phone: +507.8365503
Tech Phone Ext:
Tech Fax: +51.17057182
Tech Fax Ext:
Tech Email:
74C1C326B36447028AF98AD7B2098DB9.PROTECT@WHOISGUARD.COM
Name Server: NS1.DSREDIRECTION.COM
Name Server: NS2.DSREDIRECTION.COM
DNSSEC: unSigned
URL of the ICANN WHOIS Data Problem Reporting System:
http://wdprs.internic.net/
Last update of WHOIS database: 2014-02-21 04:05:37Z

The data in this whois database is provided to you for
information
purposes only, that is, to assist you in obtaining
information about or
related to a domain name registration record. We make this
information
available "as is," and do not guarantee its accuracy. By
submitting a
whois query, you agree that you will use this data only for
lawful
purposes and that, under no circumstances will you use this
data to: (1)
enable high volume, automated, electronic processes that
stress or load
this whois database system providing you this information;
or (2) allow,
enable, or otherwise support the transmission of mass
unsolicited,
commercial advertising or solicitations via direct mail,
electronic
mail, or by telephone. The compilation, repackaging,
dissemination or
other use of this data is expressly prohibited without
prior written
consent from us.

We reserve the right to modify these terms at any time. By
submitting
this query, you agree to abide by these terms.
Version 6.3 4/3/2002


                                                                          Ex. 45 / P. 05
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    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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duration necessary to show these results in response to real-time queries.* These results are
shown for the sole purpose of assisting you in obtaining information about domain name
registration records and for no other purpose. You agree to use this data only for lawful purposes
and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
volume, automated, electronic processes to collect or compile this data for any purpose,
including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

* There is one exception: ICANN acts as the registry operator for the .int TLD, and in that
capacity it does collect, generate, retain and store information regarding registrations in the .int
TLD.


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             WHOIS BETA


     thatporntube.com                               Lookup


Provide Feedback



   Showing results for: thatporntube.com
   Original Query: thatporntube.com




     Contact Information
     Registrant Contact
     Name: Multimedia Service
     Organization: Multimedia Home Service
     Mailing Address: Pieter Mondriaanstraat 10, OOSTERHOUT NB 4907NX NL
     Phone: +31.0653295124
     Ext:
     Fax:
     Fax Ext:
     Email:huijgbv@planet.nl

     Admin Contact
     Name: Multimedia Service
     Organization: Multimedia Home Service
     Mailing Address: Pieter Mondriaanstraat 10, OOSTERHOUT NB 4907NX NL
     Phone: +31.0653295124
     Ext:
     Fax:
     Fax Ext:
     Email:huijgbv@planet.nl

     Tech Contact
     Name: Multimedia Service                                                       Ex. 46 / P. 02
      Case 3:13-cv-01045-SI   Document 136-5    Filed 07/22/14   Page 33 of 59
Organization: Multimedia Home Service
Mailing Address: Pieter Mondriaanstraat 10, OOSTERHOUT NB 4907NX NL
Phone: +31.0653295124
Ext:
Fax:
Fax Ext:
Email:huijgbv@planet.nl




Registrar
WHOIS Server: whois.rrpproxy.net
URL:
Registrar: Key-Systems GmbH
IANA ID: 269
Abuse Contact Email:abuse[at]key-systems.net
Abuse Contact Phone: - (Please send an email)




Status
Domain Status:ACTIVE




Important Dates
Updated Date: 2013-12-23
Created Date:
Registration Expiration Date: 2014-12-22




Name Servers
ns1.simplecom.net
ns2.simplecom.net

                                                                             Ex. 46 / P. 03
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Raw WHOIS Record

Domain Name: thatporntube.com
Registry Domain ID: 1768177666_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.rrpproxy.net
Registrar URL:
Updated Date: 2013-12-23T08:26:49.0Z
Creation Date: 2012-12-22T18:14:35.0Z
Registrar Registration Expiration Date: 2014-12-
22T18:14:35.0Z
Registrar: Key-Systems GmbH
Registrar IANA ID: 269
Registrar Abuse Contact Email: abuse[at]key-systems.net
Registrar Abuse Contact Phone: - (Please send an email)
Domain Status: ACTIVE
Registry Registrant ID: P-MHS3886
Registrant Name: Multimedia Service
Registrant Organization: Multimedia Home Service
Registrant Street: Pieter Mondriaanstraat 10
Registrant City: OOSTERHOUT NB
Registrant State/Province:
Registrant Postal Code: 4907NX
Registrant Country: NL
Registrant Phone: +31.0653295124
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email: huijgbv@planet.nl
Registry Admin ID: P-MHS3886
Admin Name: Multimedia Service
Admin Organization: Multimedia Home Service
Admin Street: Pieter Mondriaanstraat 10
Admin City: OOSTERHOUT NB
Admin State/Province:
Admin Postal Code: 4907NX
Admin Country: NL
Admin Phone: +31.0653295124
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email: huijgbv@planet.nl
Registry Tech ID: P-MHS3886
Tech Name: Multimedia Service
Tech Organization: Multimedia Home Service
Tech Street: Pieter Mondriaanstraat 10
Tech City: OOSTERHOUT NB
Tech Postal Code: 4907NX
Tech State/Province:
Tech Country: NL                                       Ex. 46 / P. 04
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Tech Phone: +31.0653295124
Tech Phone Ext:
Tech Fax:
Tech Fax Ext:
Tech Email: huijgbv@planet.nl
Name Server: ns1.simplecom.net
Name Server: ns2.simplecom.net
DNSSEC: unsigned
URL of the ICANN WHOIS Data Problem Reporting System:
http://wdprs.internic.net/
>>> Last update of WHOIS database: 2014-07-18T00:54:17.0Z
<<<

Registry Billing ID: P-MHS3886
Billing Name: Multimedia Service
Billing Organization: Multimedia Home Service
Billing Street: Pieter Mondriaanstraat 10
Billing City: OOSTERHOUT NB
Billing State/Province:
Billing Postal Code: 4907NX
Billing Country: NL
Billing Phone: +31.0653295124
Billing Phone Ext:
Billing Fax:
Billing Fax Ext:
Billing Email: huijgbv@planet.nl
; This data is provided by Integrated Internet Services
B.V.
; for information purposes, and to assist persons obtaining
information
; about or related to domain name registration records.
; Integrated Internet Services B.V. does not guarantee its
accuracy.
; By submitting a WHOIS query, you agree that you will use
this data
; only for lawful purposes and that, under no
circumstances, you will
; use this data to
; 1) allow, enable, or otherwise support the transmission
of mass
;    unsolicited, commercial advertising or solicitations
via E-mail
;    (spam); or
; 2) enable high volume, automated, electronic processes
that apply
;    to this WHOIS server.
; These terms may be changed without prior notice.
; By submitting this query, you agree to abide by this
policy.
                                                                          Ex. 46 / P. 05
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    WHOIS Inaccuracy Complaint Form
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    WHOIS Compliance FAQs



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volume, automated, electronic processes to collect or compile this data for any purpose,
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                            Exhibit 47
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              WHOIS BETA


     twinkporntube.net                               Lookup


Provide Feedback



   Showing results for: twinkporntube.net
   Original Query: twinkporntube.net



     Raw WHOIS Record



     Domain Name:          twinkporntube.net


     Name Servers:
             ns1.aligneddns.com
             ns2.aligneddns.com

     Registrant Contact:
             EBT Marketing
             865 Sw 78th ave Suite A100
             Plantation, FL 33324
             UNITED STATES
             Phone: +1.954-689-8339
             Fax: +1.954-689-8340
             Email: jay@firstbeatmedia.com

     Administrative Contact:
             EBT Marketing
             865 Sw 78th ave Suite A100
             Plantation, FL 33324
             UNITED STATES
             Phone: +1.954-689-8339
             Fax: +1.954-689-8340                                                    Ex. 47 / P. 02
     Case 3:13-cv-01045-SI   Document 136-5   Filed 07/22/14   Page 40 of 59
           Email: jay@firstbeatmedia.com

Technical Contact:
        EBT Marketing
        865 Sw 78th ave Suite A100
        Plantation, FL 33324
        UNITED STATES
        Phone: +1.954-689-8339
        Fax: +1.954-689-8340
        Email: jay@firstbeatmedia.com

Created:         04-Aug-2010
Expires:         04-Aug-2015

Last modified on 2014-07-07

Visit Talkreviews.com for website information on <a
href="http://www.talkreviews.com/twinkporntube.net">twinkpo
rntube.net</a>

NOTICE AND TERMS OF USE:
TheData contained in Domainclub's WHOIS database is for
information purposes
only, and is to used only to assist persons in obtaining
information about or
related to a domain name registration record.
DomainClub.com does not guarantee
its accuracy.
By submitting a WHOIS query, you agree to abide by the
following terms of use:
You agree that you may use this Data only for lawful
purposes and that under no
circumstances will you use this Data to: (1) allow, enable,
or otherwise support
the transmission of mass unsolicited, commercial
advertising or solicitations
via e-mail, telephone, or facsimile; or (2) enable high
volume, automated,
nelectronic processes that apply to DomainClub.com (or its
computer systems).
DomainClub.com reserves the right to terminate your access
to the WHOIS
database at its sole discretion, including without
limitation, for excessive
querying of the WHOIS database or for failure to otherwise
abide by this policy.
The compilation, repackaging, dissemination or other use of
this Data is
expressly prohibited without the prior written consent of
DomainClub.com.                                        Ex. 47 / P. 03
DomainClub.com reserves the right to modify these terms at
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       any time.



       **************************************************
       DomainClub.com
       Knock-out Prices on Domain Name Registration
       **************************************************




    Submit a Complaint for WHOIS
    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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volume, automated, electronic processes to collect or compile this data for any purpose,
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these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

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             WHOIS BETA


     vintage-porntube.com                           Lookup


Provide Feedback



   Showing results for: VINTAGE-PORNTUBE.COM
   Original Query: vintage-porntube.com



     Raw WHOIS Record

     Domain Name: VINTAGE-PORNTUBE.COM

     Abuse email: abuse@ahnames.com

     Registrant:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     vintage-porntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Registered Through:
         AHnames.com http://www.AHnames.com/

     Administrative Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     vintage-porntube.com@whoisprotectservice.net
         27 Old Gloucester Street
         London WC1N 3AX
         United Kingdom
         +44.02074195061

     Technical Contact:
         WhoisProtectService.net PROTECTSERVICE, LTD.
     vintage-porntube.com@whoisprotectservice.net                                   Ex. 48 / P. 02
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             27 Old Gloucester Street
             London WC1N 3AX
             United Kingdom
             +44.02074195061

       Billing Contact:
           WhoisProtectService.net PROTECTSERVICE, LTD.
       vintage-porntube.com@whoisprotectservice.net
           27 Old Gloucester Street
           London WC1N 3AX
           United Kingdom
           +44.02074195061

       Name Server: NS1.HOT-NS.COM
       Name Server: NS2.HOT-NS.COM

       Creation Date: 2014-03-21
       Expiration Date: 2015-03-21




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    WHOIS Inaccuracy Complaint Form
    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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and further agree not to use this data (i) to allow, enable, or otherwise support the transmission by
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volume, automated, electronic processes to collect or compile this data for any purpose,
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             WHOIS BETA


     wwporntube.com                                 Lookup


Provide Feedback



   Showing results for: WWPORNTUBE.COM
   Original Query: wwporntube.com




     Contact Information
     Registrant Contact
     Name: Registration Private
     Organization: Domains By Proxy, LLC
     Mailing Address: DomainsByProxy.com, Scottsdale Arizona 85260 United States
     Phone: +1.4806242599
     Ext:
     Fax: +1.4806242598
     Fax Ext:
     Email:WWPORNTUBE.COM@domainsbyproxy.com

     Admin Contact
     Name: Registration Private
     Organization: Domains By Proxy, LLC
     Mailing Address: DomainsByProxy.com, Scottsdale Arizona 85260 United States
     Phone: +1.4806242599
     Ext:
     Fax: +1.4806242598
     Fax Ext:
     Email:WWPORNTUBE.COM@domainsbyproxy.com

     Tech Contact
     Name: Registration Private                                                     Ex. 49 / P. 02
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Organization: Domains By Proxy, LLC
Mailing Address: DomainsByProxy.com, Scottsdale Arizona 85260 United States
Phone: +1.4806242599
Ext:
Fax: +1.4806242598
Fax Ext:
Email:WWPORNTUBE.COM@domainsbyproxy.com




Registrar
WHOIS Server: whois.godaddy.com
URL: http://www.godaddy.com
Registrar: GoDaddy.com, LLC
IANA ID: 146
Abuse Contact Email:abuse@godaddy.com
Abuse Contact Phone: +1.480-624-2505




Status
Domain Status:clientTransferProhibited
Domain Status:clientUpdateProhibited
Domain Status:clientRenewProhibited
Domain Status:clientDeleteProhibited




Important Dates
Updated Date: 2014-06-05
Created Date:
Registration Expiration Date: 2014-10-31




Name Servers
NS1.PARKLOGIC.COM                                                           Ex. 49 / P. 03
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NS2.PARKLOGIC.COM




Raw WHOIS Record

Domain Name: WWPORNTUBE.COM
Registry Domain ID: 1833562829_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.godaddy.com
Registrar URL: http://www.godaddy.com
Update Date: 2014-06-05 16:35:18
Creation Date: 2013-10-31 10:13:58
Registrar Registration Expiration Date: 2014-10-31 10:13:58
Registrar: GoDaddy.com, LLC
Registrar IANA ID: 146
Registrar Abuse Contact Email: abuse@godaddy.com
Registrar Abuse Contact Phone: +1.480-624-2505
Domain Status: clientTransferProhibited
Domain Status: clientUpdateProhibited
Domain Status: clientRenewProhibited
Domain Status: clientDeleteProhibited
Registry Registrant ID:
Registrant Name: Registration Private
Registrant Organization: Domains By Proxy, LLC
Registrant Street: DomainsByProxy.com
Registrant Street: 14747 N Northsight Blvd Suite 111, PMB
309
Registrant City: Scottsdale
Registrant State/Province: Arizona
Registrant Postal Code: 85260
Registrant Country: United States
Registrant Phone: +1.4806242599
Registrant Phone Ext:
Registrant Fax: +1.4806242598
Registrant Fax Ext:
Registrant Email: WWPORNTUBE.COM@domainsbyproxy.com
Registry Admin ID:
Admin Name: Registration Private
Admin Organization: Domains By Proxy, LLC
Admin Street: DomainsByProxy.com
Admin Street: 14747 N Northsight Blvd Suite 111, PMB 309
Admin City: Scottsdale
Admin State/Province: Arizona
Admin Postal Code: 85260
Admin Country: United States
Admin Phone: +1.4806242599
Admin Phone Ext:
Admin Fax: +1.4806242598                               Ex. 49 / P. 04
Admin Fax Ext:
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Admin Email: WWPORNTUBE.COM@domainsbyproxy.com
Registry Tech ID:
Tech Name: Registration Private
Tech Organization: Domains By Proxy, LLC
Tech Street: DomainsByProxy.com
Tech Street: 14747 N Northsight Blvd Suite 111, PMB 309
Tech City: Scottsdale
Tech State/Province: Arizona
Tech Postal Code: 85260
Tech Country: United States
Tech Phone: +1.4806242599
Tech Phone Ext:
Tech Fax: +1.4806242598
Tech Fax Ext:
Tech Email: WWPORNTUBE.COM@domainsbyproxy.com
Name Server: NS1.PARKLOGIC.COM
Name Server: NS2.PARKLOGIC.COM
DNSSEC: unsigned
URL of the ICANN WHOIS Data Problem Reporting System:
http://wdprs.internic.net/
Last update of WHOIS database: 2014-07-18T15:00:00Z

The data contained in GoDaddy.com, LLC's WhoIs database,
while believed by the company to be reliable, is provided
"as is"
with no guarantee or warranties regarding its accuracy.
This
information is provided for the sole purpose of assisting
you
in obtaining information about domain name registration
records.
Any use of this data for any other purpose is expressly
forbidden without the prior written
permission of GoDaddy.com, LLC. By submitting an inquiry,
you agree to these terms of usage and limitations of
warranty. In particular,
you agree not to use this data to allow, enable, or
otherwise make possible,
dissemination or collection of this data, in part or in its
entirety, for any
purpose, such as the transmission of unsolicited
advertising and
and solicitations of any kind, including spam. You further
agree
not to use this data to enable high volume, automated or
robotic electronic
processes designed to collect or compile this data for any
purpose,
including mining this data for your own personal or
commercial purposes.                                   Ex. 49 / P. 05
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       Please note: the registrant of the domain name is specified
       in the "registrant" section. In most cases, GoDaddy.com,
       LLC
       is not the registrant of domain names listed in this
       database.




    Submit a Complaint for WHOIS
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    WHOIS Service Complaint Form

    WHOIS Compliance FAQs



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             WHOIS BETA


     xporntubes.com                                 Lookup


Provide Feedback



   Showing results for: XPORNTUBES.COM
   Original Query: xporntubes.com




     Contact Information
     Registrant Contact
     Name: Direct Privacy
     Organization: Direct Privacy LTD
     Mailing Address: PO Box 12068, George Town Grand Cayman KY1-1010 KY
     Phone: +1.3457456022
     Ext:
     Fax:
     Fax Ext:
     Email:directprivacy@hushmail.com

     Admin Contact
     Name: Direct Privacy
     Organization: Direct Privacy LTD
     Mailing Address: PO Box 12068, George Town Grand Cayman KY1-1010 KY
     Phone: +1.3457456022
     Ext:
     Fax:
     Fax Ext:
     Email:directprivacy@hushmail.com

     Tech Contact
     Name: Direct Privacy                                                           Ex. 50 / P. 02
      Case 3:13-cv-01045-SI   Document 136-5   Filed 07/22/14   Page 56 of 59
Organization: Direct Privacy LTD
Mailing Address: PO Box 12068, George Town Grand Cayman KY1-1010 KY
Phone: +1.3457456022
Ext:
Fax:
Fax Ext:
Email:directprivacy@hushmail.com




Registrar
WHOIS Server: whois.directnic.com
URL: http://www.directnic.com
Registrar: DNC Holdings, Inc.
IANA ID: 291
Abuse Contact Email:abuse@directnic.com
Abuse Contact Phone: +1.8668569598




Status
Domain Status:clientTransferProhibited
Domain Status:clientUpdateProhibited
Domain Status:clientDeleteProhibited
Domain Status:renewPeriod




Important Dates
Updated Date: 2014-02-08
Created Date:
Registration Expiration Date: 2015-02-08




Name Servers
NS3.DOMAINMANAGER.COM                                                       Ex. 50 / P. 03
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NS4.DOMAINMANAGER.COM




Raw WHOIS Record


Domain Name: XPORNTUBES.COM
Registry Domain ID: 1541608923_DOMAIN_COM-VRSN
Registrar WHOIS Server: whois.directnic.com
Registrar URL: http://www.directnic.com
Updated Date: 2014-02-09T00:57:01+00:00
Creation Date: 2009-02-09T02:07:13+00:00
Registrar Registration Expiration Date: 2015-02-
09T02:07:13+00:00
Registrar: DNC Holdings, Inc.
Registrar IANA ID: 291
Registrar Abuse Contact Email: abuse@directnic.com
Registrar Abuse Contact Phone: +1.8668569598
Domain Status: clientTransferProhibited
Domain Status: clientUpdateProhibited
Domain Status: clientDeleteProhibited
Domain Status: renewPeriod
Registrant Name: Direct Privacy
Registrant Organization: Direct Privacy LTD
Registrant Street: PO Box 12068
Registrant City: George Town
Registrant State/Province: Grand Cayman
Registrant Postal Code: KY1-1010
Registrant Country: KY
Registrant Phone: +1.3457456022
Registrant Phone Ext:
Registrant Fax:
Registrant Fax Ext:
Registrant Email: directprivacy@hushmail.com
Admin Name: Direct Privacy
Admin Organization: Direct Privacy LTD
Admin Street: PO Box 12068
Admin City: George Town
Admin State/Province: Grand Cayman
Admin Postal Code: KY1-1010
Admin Country: KY
Admin Phone: +1.3457456022
Admin Phone Ext:
Admin Fax:
Admin Fax Ext:
Admin Email: directprivacy@hushmail.com
Tech Name: Direct Privacy                                                 Ex. 50 / P. 04
Tech Organization: Direct Privacy LTD
          Case 3:13-cv-01045-SI   Document 136-5   Filed 07/22/14   Page 58 of 59
     Tech Street: PO Box 12068
     Tech City: George Town
     Tech State/Province: Grand Cayman
     Tech Postal Code: KY1-1010
     Tech Country: KY
     Tech Phone: +1.3457456022
     Tech Phone Ext:
     Tech Fax:
     Tech Fax Ext:
     Tech Email: directprivacy@hushmail.com
     Name Server: NS3.DOMAINMANAGER.COM
     Name Server: NS4.DOMAINMANAGER.COM
     URL of the ICANN WHOIS Data Problem Reporting System
     http://wdprs.internic.net
     >>> Last update of WHOIS database: 2014-07-
     18T00:56:47+00:00 <<<


     The compilation, repackaging, dissemination, or other use
     of this WHOIS
     data is expressly prohibited without the prior written
     consent of
     DNC Holdings, Inc.

     DNC Holdings reserves the right to terminate your access to
     its WHOIS
     database in its sole discretion, including without
     limitation, for
     excessive querying of the database or for failure to
     otherwise abide by
     this policy.

     DNC Holdings reserves the right to modify these terms at
     any time.

     NOTE: THE WHOIS DATABASE IS A CONTACT DATABASE ONLY.
     LACK OF A DOMAIN RECORD DOES NOT SIGNIFY DOMAIN
     AVAILABILITY.




   Submit a Complaint for WHOIS
   WHOIS Inaccuracy Complaint Form
   WHOIS Service Complaint Form

   WHOIS Compliance FAQs



NOTICE, DISCLAIMERS AND TERMS OF USE:                                           Ex. 50 / P. 05
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ICANN does not generate, collect, retain or store the results shown other than for the transitory
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registration records and for no other purpose. You agree to use this data only for lawful purposes
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email, telephone, or facsimile of mass unsolicited, commercial advertising, or (ii) to enable high
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including without limitation mining this data for your own personal or commercial purposes.
ICANN reserves the right to restrict or terminate your access to the data if you fail to abide by
these terms of use. ICANN reserves the right to modify these terms at any time. By submitting a
query, you agree to abide by these terms.

* There is one exception: ICANN acts as the registry operator for the .int TLD, and in that
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                                                                                        Ex. 50 / P. 06
